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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                    (Northern Division)

LETRIA HALL
2909 Kidder Road
Clinton, Maryland 20735 (Prince George’s County)

                Plaintiff,

                v.

CAVALRY PORTFOLIO SERVICES, LLC
7 SKYLINE DRIVE
HAWTHORNE, NEW YORK 10532
     Serve On:  The Corporation Trust Inc.
                351 West Camden Street                      Case No. __________________
                Baltimore, MD 21201

MARGOLIS, PRITZKER, EPSTEIN
& BLATT, P.A.
110 WEST ROAD, STE. #222
TOWSON, MARYLAND 21204
      Serve On:  Aaron Margolis
                 110 West Road, Ste. #222
                 Towson, MD 21204

                Defendants.


                                         COMPLAINT

       Plaintiff Letria Hall (“Hall”), through her attorney Cory L. Zajdel of Z LAW, LLC,

hereby submits this Complaint against Cavalry Portfolio Services, LLC (“Cavalry”) and

Margolis, Pritzker, Epstein & Blatt, P.A. (“MPEB”), and states:

I.     INTRODUCTION

       1.       This Complaint is filed and these proceedings are instituted under the “Fair Debt

Collection Practices Act” 15 U.S.C. § 1692 et. seq., (hereinafter “FDCPA”) to recover actual and
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statutory damages, reasonable attorney’s fees and costs of suit due to Defendants’ violations all

of which occurred within one year from the filing date of this Complaint.

          2.       The United States Congress has found there is abundant evidence of abusive,

deceptive, and unfair debt collection practices by many debt collectors, and has determined that

abusive debt collection practices contribute to the number of personal bankruptcies, to marital

instability, to the loss of jobs, and to invasions of individual privacy. Congress drafted the FDCPA

with the goal to eliminate abusive collection practices utilized by debt collectors, to insure that those

debt collectors who refrain from using abusive debt collection practices are not competitively

disadvantaged, and to promote consistent State action to protect consumers against debt collection

abuses.

          3.       Plaintiff Hall files this Complaint seeking redress for the illegal practices of

Defendants in connection with the collection of a consumer debt in violation of the FDCPA.

          4.       In violation of the FDCPA, Defendants mailed the Plaintiff a misleading

Stipulation/Payment Plan/Settlement Agreement (“Settlement Agreement”) that simulated legal

process while attempting to collect the consumer debt and that lead Plaintiff to believe that a

collection action had been filed against her.

          5.       Defendants further violated the FDCPA while attempting to collect consumer debt

by misrepresenting and inflating the amount of the alleged debt in the Settlement Agreement by

including a $28.00 court costs in the total amount to be paid even though no collection action had

been filed at that time against Plaintiff.

          6.       Defendant Cavalry is an entity that acquires defaulted consumer debt that is bought

for a few cents on the dollar.




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       7.       Defendant MPEB is a debt collection law firm that attempts to collect debts on

behalf of Cavalry.

       8.       Defendants attempt to collect debts from Maryland consumers through the United

States mails and by filing debt collection law suits in Maryland’s District Courts.

       9.       Defendants conduct business in Maryland by attempting to collect on consumer

debts by contacting Maryland consumers.

       10.      Defendant Cavalry purchases defaulted consumer debt.

       11.      Defendant Cavalry then refers collection activity to Defendant MPEB as a lawyer

for Defendant Cavalry.

       12.      The communications from Defendants to Plaintiff were generally contradictory,

inaccurate and misleading.

II.    PARTIES

       13.      Plaintiff Letria Hall is a natural person currently residing at 2909 Kidder Road,

Clinton, Maryland 20735 (Prince George’s County), is a “consumer” as that term is defined by 15

U.S.C. § 1692a(3).

       14.      Defendant Cavalry Portfolio Services, LLC, is a Delaware Limited Liability

Company with a business address of 7 Skyline Drive, Hawthorne, NY 10532.

       15.      At all times relevant to this Complaint, Cavalry Portfolio Services, LLC transacted

business in the District of Maryland and at other locations throughout Maryland, operating as a debt

buyer, collection agency, as a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

       16.      Defendant Margolis, Pritzker, Epstein & Blatt, P.A., is a Professional Association

formed under the laws of the state of Maryland with a business address of 110 West Road, Ste. 222,

Towson, Maryland 21204.




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        17.     At all times relevant to this Complaint, Margolis, Pritzker, Epstein & Blatt, P.A.

transacted business in the District of Maryland and at other locations throughout Maryland,

operating as a law firm, collection agency, as a “debt collector” as that term is defined by 15 U.S.C.

§ 1692a(6).

        18.     At all times relevant to this Complaint, Margolis, Pritzker, Epstein & Blatt, P.A. was

acting as attorney and agent for Defendant Cavalry in its efforts to collect consumer debts from

Plaintiff and therefore Defendant Cavalry is liable for all of Defendant Margolis, Pritzker, Epstein &

Blatt, P.A.’s actions as alleged herein.

III.    JURISDICTION AND VENUE

        19.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d).

        20.     Because Defendants regularly does business within the State of Maryland and files

lawsuits in Maryland’s state courts, personal jurisdiction is established.

        21.     Venue is proper in this District because Defendant Margolis, Pritzker, Epstein &

Blatt, P.A. attempted to collect a consumer debt from Plaintiff in this District and the conduct

complained of occurred in this District.

IV.     FACTUAL ALLEGATIONS

        22.     On information and belief, many years ago Plaintiff applied for consumer credit

in the form of a credit card with HSBC Bank Nevada, which is a financial obligation that was

primarily for personal, family or household purposes and is therefore a “debt” as that term is

defined by 15 U.S.C § 1692a(5).

        23.     According to Defendants, Plaintiff defaulted on the consumer credit card

obligation and HSBC Bank Nevada charged off the debt and sold the right to collect on the

charged off debt to Defendant Cavalry.




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         24.      According to Defendants, Defendant Cavalry hired Defendant Margolis, Pritzker,

Epstein & Blatt, P.A. to collect the consumer debt on behalf of Defendant Cavalry.

         25.      At all times relevant to this Complaint, Defendant Margolis, Pritzker, Epstein &

Blatt acted as the agent of Defendant Cavalry in its efforts to collect the alleged debt and

therefore Defendant Cavalry is liable for the acts of Defendant Margolis, Pritzker, Epstein &

Blatt.

         26.      On April 12, 2011, Defendant Margolis, Pritzker, Epstein & Blatt called Plaintiff

on her work telephone number regarding the alleged debt originated with HSBC Bank Nevada.

         27.      During that telephone call, Plaintiff requested a payment plan and was told that a

proposed payment plan would be provided to her in the mail in short order.

         28.      On April 29, 2011, Defendants mailed a Settlement Agreement to Plaintiff that

appears to be an official court document.

         29.      The Settlement Agreement included a header that appears to be a case caption

listing Cavalry Portfolio Service, LLC as the Plaintiff and Letria Hall as the Defendant on the

left hand side.

         30.      The Settlement Agreement header also includes on the right side the words “IN

THE DISTRICT COURT OF MARYLAND FOR PRINCE GEORGE’S COUNTY[.]”

         31.      In the Settlement Agreement, Defendants require Plaintiff to pay “$28.00 [in]

court costs, as payment in full of the debt owed.”

         32.      Finally, the Settlement Agreement concludes “[o]nce this Stipulation is executed

by both parties, [Cavalry Portfolio Services, LLC] will dismiss the within case pursuant to

Maryland Rule 3-506(b).




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          33.    To the best of Plaintiff’s knowledge, no court costs had accrued on April 29, 2011

when the Settlement Agreement was mailed to her because no debt collection action has been

filed to date.

          34.    Plaintiff called Defendant Margolis, Pritzker, Epstein & Blatt on May 10, 2011

and asked if a court case had been filed against her.

          35.    Defendant Margolis, Pritzker, Epstein & Blatt told Plaintiff that no court case had

been filed against her at that time they include the court costs because so many debtors default

on their Settlement Agreements.

          36.    Plaintiff called Defendant Margolis, Pritzker, Epstein & Blatt again on May 16,

2011 questioning the imposition of court costs prior to filing any collection action against her.

          37.    Defendant Margolis, Pritzker, Epstein & Blatt again refused to take the court costs

out of the Settlement Agreement.

          38.    The Settlement Agreement was never signed by any of the parties.

          39.    The form of the Settlement Agreement, the inclusion of court costs and a

statement that the case would be dismissed upon execution of the Settlement Agreement could

serve no other purpose other than to mislead Plaintiff into believing that a debt collection action

had already been filed in the District Court of Prince George’s County against her and to inflate

the amount of the alleged debt.

          40.    While attempting to collect the alleged debt from Plaintiff, Defendants acted in an

abusive, harassing and deceptive manner contrary to the standards of civilized society and the

standards employed by others in its industry and in violation of 15 U.S.C. §§ 1692(b);

1962c(b),1692d, 1692e, 1692e(2), 1692e(5), 1692e(10), 1692e(11), 1692f and 1692g(a) amongst

others.




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       41.      As a direct and proximate result of Defendants’ illegal collection tactics and

harassing behavior, Plaintiff has sustained actual damages in the form of expenses in attempting

to correct Defendants’ misguided and illegal collection activities, extreme stress, fear, confusion,

anger, humiliation, and embarrassment.

V.     CAUSES OF ACTION

                                       COUNT I
                        (FAIR DEBT COLLECTION PRACTICES ACT)

       42.      Plaintiff incorporates by reference all of the allegations of this Complaint as

though fully stated herein.

       43.      While attempting to collect the alleged debt from Plaintiff, Defendants acted in an

abusive, harassing and deceptive manner contrary to the standards of civilized society and the

standards employed by others in its industry and in violation of numerous provisions of the

FDCPA.

       44.      FDCPA violations include, but are not limited to: 15 U.S.C. §§ 1692(b);

1962c(b),1692d, 1692e, 1692e(2), 1692e(5), 1692e(10), 1692e(11), 1692e(13), 1692f and

1692g(a) amongst others.

       45.      As a direct and proximate result of Defendants’ illegal collection tactics and

harassing behavior in violation of the FDCPA, Plaintiff has sustained actual damages in the form

of expenses in attempting to correct Defendants’ misguided and illegal collection activities,

severe emotional distress and mental anguish and embarrassment, including but not limited to

severe stress, many sleepless nights, a feeling of hopelessness and headaches.

       WHEREFORE, Plaintiff prays that judgment be entered against Defendants:

       •     For an order declaring that the Defendants’ actions as described above are in violation of

             the FDCPA;



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       •    for an award of actual and compensatory damages pursuant to 15 U.S.C. § 1692k

            against Defendants including an award for emotional distress and mental anguish;

       •    for an award of statutory damages pursuant to 15 U.S.C. § 1692k against each

            Defendant not to exceed $1,000 per Defendant;

       •    for an award of costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

            1692k against each Defendant;

       •    Award pre and post judgment interest; and

       •    Award such other relief this Court deems just and equitable.

                                              Respectfully submitted,

                                              Z LAW, LLC


Dated: June 1, 2011                           ___________/s/__28191 _____________
                                              Cory L. Zajdel, Esq.
                                              10811 Red Run Blvd., Ste. 204
                                              Owings Mills, MD 21117
                                              (443) 213-1977
                                              clz@zlawmaryland.com

                                              Attorney for Plaintiff




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                                  JURY TRIAL

Plaintiff Letria Hall demands trial by jury.



                                              /s/     28191
                                       Cory L. Zajdel




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